              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:00-cr-00069-MR-5


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                    ORDER
                                )
AMOS JUNIOR SCOTT,              )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s Motion to

Reconsider Denial for Compassionate Release. [Doc. 221].

I.    BACKGROUND

      During 1999 and 2000, the Defendant Amos Junior Scott and his co-

defendant George McBride, both of whom lived in California, delivered

multiple-kilogram quantities of cocaine to Robert Rutherford in Asheville,

North Carolina, receiving between $22,000 and $26,000 per kilogram. [Doc.

211 at ¶¶ 7-9]. Scott and McBride traveled to Asheville, carrying the cocaine

in plastic bags wrapped in black tape and secured to the top of gas tanks in

rental cars, often transporting between two and three kilograms of cocaine

at a time. [Id. at ¶ 7]. At least 70 kilograms of cocaine were reasonably

foreseeable to Scott. [Id. at ¶ 9].


        Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 1 of 8
      A federal grand jury indicted Scott and charged him with conspiracy to

possess with intent to distribute at least 5 kilograms of cocaine, 21 U.S.C. §

846. [Doc. 3: Indictment]. The Government filed an Information under 21

U.S.C. § 851, notifying Scott and this Court that it intended to seek an

enhanced penalty because Scott had previously been convicted of a felony

drug offense in California. [Doc. 7: § 851 Notice]. A jury convicted Scott of

the conspiracy offense, finding that the offense involved at least 5 kilograms

of cocaine. [Doc. 80: Jury Verdict].

      This Court’s probation office submitted a presentence report in

preparation for sentencing. Based on Scott’s prior convictions for assault

with a deadly weapon or force likely produce harm and possession of rock

cocaine for sale, the probation officer determined that Scott was a career

offender. [Doc. 211: PSR at ¶ 24]. The adjusted offense level of 38 resulting

from Scott’s classification as a career offender was four levels higher than

the adjusted offense level calculated from application of the drug-trafficking

guideline and the Court’s determination that Scott was responsible for at

least 5 kilograms but less than 15 kilograms of cocaine. [Id. at ¶¶ 15-22;

Doc. 111: Judgment at 7, 9]. The probation officer found that the Sentencing

Guidelines called for a sentence of between 360 months and life in prison.


                                       2



       Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 2 of 8
[Doc. 211: PSR at ¶ 52]. Scott faced a statutory mandatory minimum

sentence of twenty years and a maximum of life. [Id. at ¶ 51]. In September

2001, this Court sentenced Scott to life in prison. [Doc. 111: Judgment at 2].

The Defendant is currently housed at FCI Butner Medium II with no projected

release date due to his life sentence.1

         In   February    2021,     the   Defendant      filed   a   motion,   seeking

compassionate release, arguing three grounds: (1) that he was erroneously

classified as a career offender, and that if he were sentenced today, he would

not have been sentenced as severely; (2) that he suffers from a number of

chronic health conditions which increase his risk of serious illness or death

from COVID-19; and (3) that he “has compiled a remarkable record of

rehabilitation” in prison, thereby demonstrating that he would not be a danger

to the public if released. [Doc. 207 at 1-2]. In July 2021, the Court denied

the Defendant’s motion.             [Doc. 220].       The Defendant now seeks

reconsideration of that Order. [Doc. 221].

II.      DISCUSSION

         The Defendant first argues that in its Order denying compassionate

release, the Court failed to address his argument that § 846 conspiracy


1   See https://www.bop.gov/inmateloc/ (last accessed Oct. 17, 2021).

                                            3



           Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 3 of 8
conviction is not a controlled substance offense under the Guidelines and

therefore he is no longer properly classified as a career offender. [Doc. 221

at 1].

         Even if Scott were correct that, if he were sentenced today for the

offense of conspiracy to possess with intent to distribute cocaine, he would

not be designated a career offender in light of United States v. Norman, 935

F.3d 232, 237-39 (4th Cir. 2019) (holding that the offense of conspiracy to

possess with intent to distribute a controlled substance is not a “controlled

substance offense” within in the meaning of the career offender guideline),2


2 Section 4B1.2 of the Guidelines defines a controlled substance offense as “an offense
under federal or state law, punishable by imprisonment for a term exceeding one year,
that prohibits the manufacture, import, export, distribution, or dispensing of a controlled
substance (or a counterfeit substance) or the possession of a controlled substance (or a
counterfeit substance) with intent to manufacture, import, export, distribute, or dispense.”
U.S.S.G. § 4B1.2(b). Application Note 1 of the commentary clarifies that “controlled
substance offenses” “include the offenses of aiding and abetting, conspiring, and
attempting to commit such offenses.” U.S.S.G. § 4B1.2 cmt. n.1 (emphasis added).
Notwithstanding the wording of this provision, the Court in Norman held that a drug
conspiracy conviction under § 846 is not a “controlled substance offense.” This
interpretation of § 4B1.2 is interesting in light of the fact that this section expressly states
that “the term ‘controlled substance offense’ means an offense under federal . . . law . . .
that prohibits . . . the possession of a controlled substance . . . with the intent to . . .
distribute . . .” and “include[s] the offense[ ] of . . . conspiring . . . to commit such offense[]”
USSG § 4B1.2 and n.1. That defines only one crime: a violation of § 846. Yet the Court
in Norman proceeded through a complex categorical analysis to hold that this category
of one is actually a category of none. For this reason, other courts of appeal have held
that the plain text of U.S.S.G. § 4B1.2, as further defined by Application Note 1, includes
§ 846 drug conspiracies. See United States v. Lewis, 963 F.3d 16, 24 (1st Cir. 2020),
cert. denied, No. 20-7387, 2021 WL 2519339 (U.S. June 21, 2021); United States v. Tabb,
949 F.3d 81, 87 (2d Cir. 2020), cert. denied, No. 20-579, 2021 WL 2519097 (U.S. June


                                                 4



          Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 4 of 8
this fact alone would not automatically entitle Scott to a compassionate

release. In McCoy, the Fourth Circuit held only that the district courts had

discretion to consider “the severity of the defendants’ ... sentences and the

extent of the disparity between the defendants’ sentences and those

provided for under [current law],” when deciding a motion for compassionate

release.    United States v. McCoy, 981 F.3d 271, 286 (4th Cir. 2020).

“Nothing in McCoy, however, requires the court to reduce a defendant's

sentence once the defendant shows that new statutory or case law would

have benefitted the defendant, if such law had existed at the time of the

defendant's sentencing.” United States v. Spencer, 521 F. Supp. 3d 606,

610 (E.D. Va.), aff'd, 853 F. App'x 833 (4th Cir. 2021). Rather, the Court

must decide whether a reduction in sentence is warranted “based on a ‘full

consideration of the Defendant’s individual circumstances.’” Id. (quoting

McCoy, 981 F.3d at 286). Such circumstances include the length of time

already served, any rehabilitative efforts made while incarcerated, the



21, 2021). As such, the Fourth Circuit’s holding in Norman would appear to represent a
departure from ordinary textualism. It is also a clear departure from the Circuit’s own
precedent. See Norman, 935 F.3d at 242-43 (King, J. concurring in part and dissenting
in part) (noting that in United States v. Kennedy, 32 F.3d 876 (4th Cir. 1994), the Fourth
Circuit held that § 846 is a controlled substance offense, a holding which the Norman
majority referred to merely as an “assumption”). Nevertheless, Norman constitutes
binding precedent, and the Court is obliged to follow it.

                                            5



         Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 5 of 8
defendant’s prior criminal history, and the defendant’s age at the time of the

offense. McCoy, 981 F.3d at 286.

      Here, considering the totality of the circumstances presented, along

with the sentencing factors in 18 U.S.C. § 3553(a), the Court concludes that

Scott has failed to show extraordinary and compelling reasons for a

compassionate release. Scott’s offense conduct was serious, involving the

distribution of multiple kilograms of cocaine within the relatively small

communities of western North Carolina. Even without the career offender

enhancement, Scott’s responsibility for between 5 and 15 kilograms of

cocaine would still subject him to a statutory range of between ten years and

life imprisonment. At the time that he engaged in subject conspiracy, Scott

was in his early 30s and had already accrued a significant criminal history,

including convictions for assault with a deadly weapon or force likely to

produce great bodily injury, false identification to a police officer, carrying a

concealed weapon, and possession of rock cocaine. [Doc. 211: PSR at ¶¶

29-31]. Additionally, while Scott’s efforts at rehabilitation while incarcerated

are commendable, such efforts are not so exceptional to warrant the

extraordinary relief of compassionate release.




                                       6



        Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 6 of 8
      In light of the serious nature of Scott’s offense and his criminal history,

the Court finds that the relevant § 3553(a) sentencing factors, including the

need for the sentence to reflect the true extent and seriousness of Scott’s

offense, to promote respect for the law, to provide just punishment, to afford

adequate deterrence, and to protect the public from further crimes, counsel

against Scott’s compassionate release. The         Defendant’s     motion     for

reconsideration on this ground is denied.

      Scott also moves for reconsideration of the Order denying his request

for compassionate on the ground that “new scientific evidence contradicts

the Court’s Order concerning Mr. Scott’s susceptibility to reinfection and the

BOP’s handling of the COVID-19 pandemic.” [Doc. 221 at 1, 2-5]. Upon

careful review of the Defendant’s arguments, the Court finds no basis for

reconsideration of its prior Order denying relief on this basis.

      In sum, the Court finds that there are no “extraordinary and compelling

reasons” for the Defendant’s release and that analysis of the relevant §

3553(a) factors continue to weigh in favor of his continued incarceration.

Accordingly, the Defendant’s motion for reconsideration is denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Reconsider Denial for Compassionate Release [Doc. 221] is DENIED.


                                       7



        Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 7 of 8
IT IS SO ORDERED.

                    Signed: October 26, 2021




                                   8



 Case 1:00-cr-00069-MR Document 229 Filed 10/26/21 Page 8 of 8
